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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

PATRICK BAEHR, et al.,                           *

                                                 *
        Plaintiffs,                                              Civil Action No. RDB-13-0933
                                                 *
        v.
                                                 *
THE CREIG NORTHROP TEAM,
 P.C., et al.,                                   *

        Defendants.                              *

*       *       *       *       *      *  *   *    *   *                          *       *       *
                                    MEMORANDUM OPINION

        The Plaintiffs Patrick and Christine Baehr, individually and on behalf of a class of

consumers, bring this single-count class action1 against the Defendants The Creig Northrop

Team, P.C. (“The Northrop Team”), Creighton Edward Northrop, III (“Creig Northrop”),

Lakeview Title Company (“Lakeview”), and Lindell Eagan (“Eagan”) (collectively, the

“Defendants”), alleging that the Defendants violated the Real Estate Settlement Procedures

Act of 1974, as amended, 12 U.S.C. § 2601, et seq. (“RESPA”) through an illegal kickback

scheme whereby The Northrop Team received unearned fees from Lakeview Title in

exchange for referring clients to Lakeview Title for settlement. Currently pending before this

Court is the Defendants’ Joint Motion for Summary Judgment, arguing that the Plaintiffs do

not have standing to bring their claim, and that their claim is barred by RESPA’s one year

statute of limitations and equitable tolling does not apply. (ECF No. 158.)


1 As noted infra Note 10, this case has been previously assigned to four other Judges of this Court. It was
assigned to the undersigned on November 30, 2017 and discovery was ultimately completed giving rise to the
filing of dispositive motions.
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       This Court reviewed the parties’ submissions and held a motions hearing on

November 20, 2018. For the following reasons, Defendants’ Joint Motion for Summary

Judgment (ECF No. 158) is GRANTED and Judgment is ENTERED in favor of

Defendants.2

                                        BACKGROUND

       In ruling on a motion for summary judgment, this Court reviews the facts and all

reasonable inferences in the light most favorable to the non-moving party. Scott v. Harris,

550 U.S. 372, 378 (2007); Hardwick ex rel. Hardwick v. Heyward, 711 F.3d 426, 433 (4th Cir.

2013). As explained below, in 2008 the named Plaintiffs Patrick and Christine Baehr (the

“Plaintiffs” or “Baehrs”) retained Long & Foster Real Estate, Inc. (“Long & Foster”) as their

real estate broker to assist them in finding a new home. Maija Dykstra, at the time a Long &

Foster agent and member of the Defendant The Creig Northrop Team, P.C. (“The

Northrop Team”), led by the Defendant Creighton Edward Northrop, III (“Creig

Northrop”), referred the Plaintiffs to the Defendant Lakeview Title Company (“Lakeview

Title”), run by its President Defendant Lindell Eagan (“Eagan”), for settlement. The Baehrs

closed on the purchase of this home on July 25, 2008.

       On March 27, 2013, more than four and a half years after they settled on their home,

the Plaintiffs filed the instant suit on behalf of themselves and a putative class, claiming that

the Defendants violated Section 8(a) of RESPA by using a “sham” marketing agreement

between The Northrop Team and Lakeview Title to disguise an illegal kickback scheme

whereby The Northrop Team received unearned fees by referring the Plaintiffs and the

2 Accordingly, Plaintiffs’ Motion to Revise Judgment and for Leave to file a Second Amended Complaint
(ECF No. 160) and Plaintiffs’ Motion to Modify the Class (ECF No. 228) are MOOT.
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putative class to Lakeview Title for settlement. This Court begins with a brief overview of

RESPA before detailing the factual and procedural background of this case.

        I.       The Real Estate Settlement Procedures Act (“RESPA”)

        Congress enacted the Real Estate Settlement Procedures Act of 1974, as amended, 12

U.S.C. § 2601, et seq. (“RESPA”) after it found that substantial reforms in the real estate

settlement process were “needed to insure that consumers throughout the Nation are

provided with greater and more timely information on the nature and costs of the settlement

process and are protected from unnecessarily high settlement charges caused by certain

abusive practices that have developed in some areas of the country.” 12 U.S.C. § 2601(a).

Accordingly, Congress enacted RESPA to effect “certain changes” that would result “in the

elimination of kickbacks or referral fees that tend to increase unnecessarily the costs of

certain settlement services.”3 Id. at § 2601(b)(2).

        One of RESPA’s prohibitions is that “[n]o person shall give and no person shall

accept any fee, kickback, or thing of value pursuant to any agreement or understanding, oral

or otherwise, that business incident to or a part of a real estate settlement service involving a

federally related mortgage loan shall be referred to any person.” Id. at § 2607(a). RESPA then

provides for a specific set of remedies, including that “[a]ny person or persons who violate

the prohibitions or limitations of this section shall be jointly and severally liable to the

person or persons charged for the settlement service involved in the violation in an amount

equal to three times the amount of any charge paid for such settlement service.” Id. at §

3 The other purposes of RESPA include effecting certain changes to result in: “more effective advance
disclosure to home buyers and sellers of settlement costs,” “a reduction in the amounts home buyers are
required to place in escrow accounts established to insure the payment of real estate taxes and insurance,” and
“significant reform and modernization of local recordkeeping of land title information.” 12 U.S.C. § 2601(b).
                                                      3
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2607(d)(2). RESPA does not provide, however, an individual with a private right to

injunctive relief. See id. at § 2607(d)(4) (“The Bureau, the Secretary, or the attorney general or

the insurance commissioner of any State may bring an action to enjoin violations of this

section.”); see also Minter v. Wells Fargo Bank, N.A., 593 F. Supp. 2d 788, 796 (D. Md. 2009)

(“[T]his Court finds that there is no private right to injunctive relief under RESPA.”)

         II.    The Marketing Agreement between The Northrop Team and Lakeview
                Title

         On April 10, 2008, Creig Northrop and The Northrop Team entered into a

Marketing and Services Agreement. (ECF No. 210-10.) The Agreement provided that,

among other things, Northrop agreed to designate Lakeview Title as its “exclusive preferred

settlement and title company” and “to provide certain marketing services.” (Id. at ¶ 2.1.) In

exchange, Lakeview would pay The Northrop Team a flat fee of $6,000 per month, “not

predicated on the volume of applications received by Lakeview from Northrop customers

for settlement and title services.” (Id. at 14.) Finally, the parties agreed “that the terms of the

transaction described herein is of a confidential nature and shall not be disclosed except to

consultants, advisors and Affiliates, or as required by law. Neither the parties shall make any

public disclosure of the specific terms of this Agreement, except as required by law.” (Id. at ¶

9.21.)

         III.   The Named Plaintiffs’ purchase of their home with Long & Foster and
                The Northrop Team

         The Named Plaintiffs Patrick and Christine Baehr’s RESPA claim stems from their

purchase of a home in Glenwood, Maryland (“Glenwood home”) on July 25, 2008. (ECF

No. 158-3.) In April of 2008, the Baehrs entered into an Exclusive Right to Represent Buyer


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Agreement with Long & Foster to assist them in selling their previous home and finding a

new home. (ECF No. 158-8.) The Defendant Creig Northrop is a licensed real estate agent

who provides real estate brokerage services under Long & Foster’s real estate brokerage

license.4 Creig Northrop also runs The Northrop Team, a real estate agent team, along with

his wife Carla Northrop. Maija Dykstra, a Northrop Team Member at the time, was the

Long & Foster real estate agent who assisted the Baehrs in the selling and purchase of their

home. (P. Baehr Dep., ECF No. 158-4 at 94.)5

        When the Baehrs began working with The Northrop Team, they received

promotional materials for various companies, including Lakeview Title, and a folder of

various forms to be signed. (ECF No. 158-12.) Among the forms to be signed were an

Understanding Whom Real Estate Agents Represent Form and an Affiliated Business

Arrangement (“ABA”) Disclosure Statement. (Id. at 8-9; ECF No. 210-31.) The ABA

Disclosure Statement, given to the Baehrs by Dykstra, was a Long & Foster form which

gave clients “notice that Long & Foster Real Estate, Inc. (‘Long & Foster’) has business

relationships (e.g., direct or indirect ownership interests, joint ventures and/or contractual

relationships including marketing agreements and/or office leases) with the following

mortgage, title, closing, and insurance service providers.”6 (ECF No. 210-31.) Under closing


4 Under Maryland state law, all real estate agents must be licensed and affiliated with a licensed real estate
brokerage for the purpose of providing real estate brokerage services. See Md. Code. Ann., Bus. Occ. & Prof.,
§ 17-310(b) (salespersons must be affiliated with a real estate brokerage that is headed by a broker, and offer
real estate brokerage services through that brokerage).
5 “P. Baehr Dep.” refers to the deposition testimony of Plaintiff Patrick Baehr while “C. Baehr Dep.” refers

to the deposition testimony of Plaintiff Christine Baehr.
6 As explained in more detail below, RESPA permits affiliated business arrangements so long as certain

conditions are met, including disclosure of the existence of such an arrangement to the person being referred.
12 U.S.C. § 2607(c). RESPA defines an ABA as “an arrangement in which (A) a person who is in a position
to refer business incident to or a part of a real estate settlement service involving a federally related mortgage
loan, or an associate of such person, has either an affiliate relationship with or a direct or beneficial ownership
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and title insurance companies, the Long & Foster Disclosure Statement listed twelve

companies and their affiliates in which Long & Foster had a business relationship.7 (Id.)

        Maija Dykstra assisted the Baehrs in finding and ultimately making an offer for the

purchase of the Glenwood home for $835,000. (P. Baehr Dep., ECF No. 158-4 at 110;

HUD-1, ECF No. 158-3.) From previous experience purchasing a home, the Baehrs

understood that once a purchase price was agreed upon, they needed a settlement company

and title insurance to complete the purchase.8 (ECF No. 158-4 at 132; C. Baehr Dep., ECF

No. 158-14 at 80, 82.) Both Patrick and Christine Baehr testified that while working with

Long & Foster and The Northrop Team, they knew and understood that they could choose

their own settlement and title company. (ECF No. 158-4 at 137; ECF No. 158-14 at 82.)

Despite knowing that they were free to choose their own company, however, the Baehrs did

not take any action to find their own settlement and title company. (ECF No. 158-4 at 134,

137.) Rather, Patrick Baehr testified that he expected his Northrop Team Member, Dykstra,

to find him a settlement company. (Id. at 138.)

interest of more than 1 percent in a provider of settlement services; and (B) either of such persons directly or
indirectly refers such business to that provider or affirmatively influences the selection of that provider.” Id. at
§ 2602(7).
7 Specifically, the form stated that Long & Foster had business relationships with the following companies to

close a purchase or sale and/or for title insurance:
         RGS Title and/or its affiliate Mid-States Title of Virginia, LLC
         Brennan Title Company and/or its affiliate Positive Title, LLC
         MBH Settlement Group LC and/or its affiliate Eastern Title LLC
         Saga Title Group, LLC
         Settlement Professionals, LLC
         Bon Air Title and/or its affiliate Bon Air/Long & Foster Title Agency, LLC
         Shaheen & Shaheen and/or its affiliate Long & Foster Great American Title, LLC
         Shaffer Title & Escrow Inc. and/or its affiliate Long & Foster Shaffer Title Services, LLC
         Homestead Settlement Services, LLC and/or its affiliate Mid-States Title of Roanoke, LLC
         Mid States Title of Southwest Virginia, LLC
         Trump & Trump and/or its affiliate Long 7 Foster of WV Title Insurance Agency, LLC
         Long & Foster Settlement Services, LLC
8 Specifically, in 2000 the Baehrs purchased a home for around $310,000 and paid $375 to the title company

Residential Title & Escrow Company. (ECF No. 158-4 at 229, 230.)
                                                         6
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       Thereafter in July of 2008, the month the Baehrs closed on their home, Dykstra

informed the Baehrs that Lakeview Title would handle their settlement. (P. Baehr Dep., ECF

No. 158-4 at 138; C. Baehr Dep., ECF No. 158-14 at 98.) Specifically, Patrick Baehr testified

that Dykstra stated “we do all of our settlements at Lakeview.” (ECF No. 158-4 at 139.) It is

undisputed that when Dykstra informed the Baehrs that “we do all of our settlements at

Lakeview,” the Baehrs did not ask a single question regarding why a Northrop Team

Member, associated with Long & Foster, would refer all settlements to Lakeview Title. They

also did not ask whether Dykstra, Long & Foster, or The Northrop Team had an affiliation

or some form of an agreement with Lakeview Title. (P. Baehr Dep., ECF No. 158-4 at 138-

41.) This was despite the fact that Lakeview Title was not one of the twelve closing or title

insurance companies listed on Long & Foster’s ABA Disclosure Statement and that

Lakeview Title was not the title company the Baehrs used when settling on their previous

home. (ECF Nos 210-31; ECF No. 158-4 at 229, 230.)

       Rather, the Baehrs elected to proceed with Lakeview Title handling their settlement

without objection. Subsequently, on July 25, 2008, the Baehrs obtained title insurance from

and settled on the Glenwood home with Lakeview Title. (HUD-1, ECF No. 158-3.) Patrick

Baehr testified that despite feeling comfortable and having the opportunity to ask questions

during the closing process, he did not recall asking any questions. (ECF No. 158-4 at 167-

68.) The Baehrs’ HUD-19 for the purchase of their home then listed the following fees,

among others, paid from borrower’s funds at settlement:

               Contract sales price:                                           $835,000.00

9 The HUD-1 Settlement Statement is a standard form indicating fees charged to a borrower by a mortgage
lender or broker.
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              Administrative Fee to Long & Foster:                       $395.00
              Title Examination to Lakeview Title Company:               $375.00
              Title insurance binder to Lakeview Title Company:          $50.00
              Title Insurance to Chicago Title Insurance Company:        $2,990.00
              Recording Services to Lakeview Title Company:              $50.00

(HUD-1, ECF No. 158-3.) As Chicago Title Insurance Company was the title underwriter,

that amount was also sent to Lakeview Title. (ECF No. 158-1 at 11 n. 11.)

       After the settlement process, Patrick Baehr testified that he was satisfied with the

services that Lakeview Title provided. (P. Baehr Dep., ECF No. 158-4 at 164; C. Baehr Dep.,

ECF No. 158-14 at 128.) Accordingly, he believed that Lakeview Title deserved to be

compensated in connection with the settlement services and did not object to paying

Lakeview Title or Chicago Title Insurance Company’s fee. Satisfied with their srvices, over

the next four and a half years, the Baehrs did not contact Dykstra, Creig Northrop, anyone

on the Northrop Team, Lakeview, or Long & Foster about whether The Northrop Team

may have had a marketing agreement or other arrangement with Lakeview Title, or whether

The Northrop Team may have received anything of value from Lakeview Title in connection

with the Baehrs’ purchase of the Glenwood home. (P. Baehr Dep., ECF No. 158-4 at 206.)

       IV.    Four and a half years later, the Plaintiffs file the instant action

       On March 15, 2013, four and a half years after the Baehrs purchased their home, the

Baehrs received a letter from their current counsel. (ECF No. 158-16.) The letter indicated

that counsel was “investigating whether you and other persons similarly situated may have a

legal claim based on illegal kickbacks paid for the referral of your business to a title company

that settled your purchase. . . . I believe that you may be entitled to financial recovery under

RESPA.” (Id.) Subsequently, the Baehrs received a written engagement letter to pursue the


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instant claim. (ECF No. 158-17.) On March 27, 2013, they filed the instant action, alleging

that the Defendants violated Section 2607(a) of RESPA.10 (Compl., ECF No. 1.)

        The Plaintiffs’ Complaint named six Defendants: The Northrop Team, Creig

Northrop, Carla Northrop, Lakeview Title, Lindell Eagan, and Long & Foster. (Id.) The

Complaint alleged that Creig Northrop, Carla Northrop, and The Northrop Team—acting

as agents on behalf of Long & Foster—referred the Plaintiffs and members of the Class

exclusively to Defendant Lakeview Title Company for real estate settlement services as a quid

pro quo for compensation by Lakeview Title and Lindell Eagan, President of Lakeview. The

Plaintiffs alleged that the Defendants concealed this quid pro quo or kickback relationship first

through a “sham” employment agreement between Carla Northrop and Lakeview Title from

around 2001 through 2008, and then through the Marketing and Services Agreement

described above from 2008 through 2013.

        With respect to the Marketing Agreement, the Plaintiffs’ Complaint alleged that

rather than Creig Northrop and The Northrop Team receiving a flat fee for marketing

services of $6,000 per month from Lakeview Title, the payments they received actually

fluctuated from $6,000 to $12,000 based on how many clients The Northrop Team referred

to Lakeview.11 Therefore, the Plaintiffs alleged that the Marketing Agreement was a sham,

designed to hide illegal kickback fees under Section 8(a) of RESPA.




10 Since this case was initially assigned to Judge Bredar on March 27, 2013, it has been subsequently
reassigned to Judge Nickerson that same day, to Judge Quarles on May 6, 2013, to Judge Motz on January 27,
2016, to Judge Russell on October 13, 2016, and finally to the undersigned on November 30, 2017.
11 As explained below, the Plaintiffs now assert that discovery has shown that the kickback The Northrop

Team received for referrals to Lakeview Title was 50% of the title insurance premium. In the Baehrs’ case,
that was around $1,495. (Pls’ Opp., ECF No. 210 at ¶ 18.)
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        V.      This Court’s previous rulings

        On May 13, 2013, the Defendants filed two Motions to Dismiss the Plaintiffs’

Complaint on various grounds. (ECF Nos. 23, 26.) Subsequently, the Plaintiffs filed a

Motion to Amend the Complaint and Motion for Class Certification. (ECF Nos. 36, 44.) On

January 29, 2014, the Honorable Judge William D. Quarles, Jr. ruled on the Motions. (ECF

Nos. 57, 58; Baehr v. Creig Northrop Team, P.C., 2014 WL 346635 (D. Md. Jan. 29, 2014).) The

relevant rulings are explained below.12

                a. The Plaintiffs adequately alleged that equitable tolling applied to
                   their RESPA claim

        The Defendants moved to dismiss the Complaint on the ground that the Plaintiffs’

claim was barred by RESPA’s statute of limitations. Baehr, 2014 WL 346635, at *4. As this

Court explained, a claim brought pursuant to Section 8 of REPSA, 12 U.S.C. § 2607, is

subject to a one-year statute of limitations, which may be equitably tolled. Id. (citing 12

U.S.C. § 2614). Because the Plaintiffs closed on their home on July 25, 2008 but did not file

their Complaint until March 27, 2013, their claim fell well outside the one-year statute of

limitations. Id. To determine whether the Plaintiffs adequately pled that their claim was

entitled to equitable tolling, this Court applied the following standard:

        To invoke the doctrine of equitable tolling, the Plaintiffs must show that “(1)
        the party pleading the statute of limitations fraudulently concealed facts that
        are the basis of the plaintiff’s claim, and (2) the plaintiff failed to discover
        those facts within the statutory period, despite (3) the exercise of due
        diligence.”




12In addition to the rulings described below, this Court also held that the Plaintiffs adequately pled a claim
against Lindell Eagan.
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Id. (citing Minter v. Wells Fargo Bank, N.A., 675 F .Supp. 2d 591, 596 (D. Md. 2009)).13

       Applying this standard, this Court held that the Plaintiffs sufficiently alleged “that the

Defendants engaged in affirmative acts to conceal the kickback scheme.” 2014 WL 346635,

at *5. Specifically, the Plaintiffs alleged that the Defendants concealed the fact that the

Northrop Defendants were receiving illegal referral fees by disguising the kickback payments

in the sham employment and marketing agreements. Id. Moreover, this Court explained that

whether the Defendants were required to disclose the “employment or affiliation agreements

is irrelevant in determining whether the Defendants fraudulently concealed violations of

RESPA by entering into sham agreements. The issue is not whether the agreements were

disclosed, but whether they were created as shams to hide payments in violation of RESPA.”

Id. at *5 n. 9. Briefly addressing due diligence, this Court reasoned that reasonable inquiry

would not have revealed the RESPA claim because anyone who inquired into the

agreements would have discovered only the seemingly valid employment or marketing

agreements. Id. at *5.

                b. The Plaintiffs failed to state a claim against Carla Northrop and
                   Long & Foster

       The Defendants also moved to dismiss Long & Foster and Carla Northrop for failure

to state a claim. Baehr, 2014 WL 346635, at *5-6. As to Long & Foster, this Court held that

the Plaintiffs’ allegations concerning an agency relationship between the Northrop

Defendants and Long & Foster were mere legal conclusions and failed to allege “the basis,

nature, or extent of the relationship.” Id. at *6. As to Carla Northrop, this Court held that


13This standard for equitable tolling pre-dated the Supreme Court’s current equitable tolling standard
announced in Menominee Indian Tribe of Wisconsin v. United States, ––– U.S. ––––, 136 S. Ct. 750 (2016).
                                                  11
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the proposed Amended Complaint failed to allege that Carla Northrop in fact gave or

accepted a kick back in 2008 when the Baehrs purchased their home. Id. at *5. Therefore,

this Court dismissed both Long & Foster and Carla Northrop.14

                c. Class certification was appropriate, but on narrower grounds than
                   requested

        Turning to the Plaintiffs’ Motion for Class Certification, the Plaintiffs sought to

certify the following class:

        All Maryland residents who retained Long & Foster Real Estate, Inc.,
        Creighton Northrop, III, and the Creig Northrop Team, P.C. to represent
        them in the purchase of a primary residence between January 1, 2000 to
        present and settled on the purchase of their primary residence at Lakeview
        Title Company, Inc.

(ECF No. 44.)

        Analyzing the factors in Federal Rule of Civil Procedure 23(a), this Court held that

the Plaintiffs had met the numerosity and commonality requirements. Baehr, 2014 WL

346635, at *8. As to typicality, however, this Court held that the Baehrs’ claim was not

typical with potential class members’ claims originating between 2000 and 2007, when the

Defendants were allegedly operating their kickback scheme through Carla Northrop’s

employment with Lakeview Title. Id. at *8-9. Therefore, this Court redefined the class to

only include those class members who purchased homes beginning in 2008. Id. at *9. This
14 Although nothing in this Court’s Order indicates that the dismissals were with prejudice, the parties
assumed—and in a subsequent Opinion this Court indicated—that the dismissals were with prejudice. See
Baehr v. Creig Northrop Team, P.C., 2014 WL 3725906, at *4 (D. Md. July 24, 2014) (“The Plaintiffs seek to
amend the Court’s dismissal of the claim against Long & Foster to be without prejudice.”) Subsequently, on
February 13 and 14, 2014, the Plaintiffs filed Motions to file a Second Amended Complaint and to
Alter/Amend Judgment, seeking to (1) amend this Court’s dismissal of the claim against Long & Foster to be
without prejudice and (2) filed a second amended complaint to add specific factual allegations against Long &
Foster. (ECF Nos. 65, 66.) Judge Quarles denied both Motions, again holding that Plaintiffs failed to state a
claim against Long & Foster. (ECF Nos. 84, 85; Baehr v. Creig Northrop Team, P.C., 2014 WL 3725906 (D. Md.
July 24, 2014).)


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Court then held that the adequacy prong was met, as well as the predominance and

superiority requirements of Rule 23(b). Id. at *9-11.

       Therefore, this Court certified the following amended class:

       All Maryland residents who retained Long & Foster Real Estate, Inc.,
       Creighton Northrop, III, and the Creig Northrop Team, P.C. to represent
       them in the purchase of a primary residence between January 1, 2008 to the
       present and settled on the purchase of their primary residence at Lakeview
       Title Company, Inc.

Id. at *11; ECF No. 58. Defining the class in this time period precluded the Plaintiffs from

proceeding with their claim that Defendants’ RESPA violations began before 2008 through

Carla Northrop’s “sham” employment agreement with Lakeview Title. Subsequently, the

Plaintiffs filed the Operative Amended Complaint. (ECF No. 89.)

       VI.     The Defendants’ Joint Motion for Summary Judgment

       On June 9, 2015, the Defendants filed a Joint Motion for Summary Judgment. (ECF

No. 158.) The Motion argues that the Defendants are entitled to judgment as a matter of law

on two grounds: (1) Plaintiffs do not have Article III standing to bring their Section 8(a)

RESPA claim because they do not satisfied the injury in fact requirement; and (2) discovery

has shown that the Plaintiffs failed to file this action within RESPA’s one year statute of

limitations, and their claim is not entitled to equitable tolling.

                                  STANDARD OF REVIEW

       Under Federal Rule of Civil Procedure 56(c), a court must grant summary judgment

“if the pleadings, depositions, answers to interrogatories, and admissions on file, together

with the affidavits, if any, show that there is no genuine issue as to any material fact and that

the moving party is entitled to judgment as a matter of law.” Anderson v. Liberty Lobby, Inc.,


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477 U.S. 242, 247 (1986). A material fact is one that “might affect the outcome of the suit

under the governing law.” Libertarian Party of Va. v. Judd, 718 F.3d 308, 313 (4th Cir. 2013)

(quoting Anderson, 477 U.S. at 248). The party seeking summary judgment bears the initial

burden of demonstrating the absence of a genuine dispute of material fact, Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986), and the court must take all facts and inferences in the light

most favorable to the non-moving party. Scott v. Harris, 550 U.S. 372, 378 (2007).

       The party opposing summary judgment must, however, “do more than simply show

that there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 586 (1986); see also In re Apex Express Corp., 190 F.3d 624,

633 (4th Cir. 1999). The non-movant “‘may not rest upon the mere allegations or denials of

[his] pleadings,’ but rather must ‘set forth specific facts showing that there is a genuine issue

for trial.’” Bouchat v. Balt. Ravens Football Club, Inc., 346 F.3d 514, 522 (4th Cir. 2003)

(alteration in original) (quoting Fed. R. Civ. P. 56(e)); see also Adickes v. S. H. Kress & Co., 398

U.S. 144, 160 (1970). A court should enter summary judgment when a party fails to make a

showing sufficient to establish elements essential to a party’s case, and on which the party

will bear the burden of proof at trial. Celotex Corp., 477 U.S. at 322-23.

                                           ANALYSIS

       The Plaintiffs argue that the Defendants violated Section 8(a) of RESPA by using the

“sham” Marketing and Services Agreement between The Northrop Team and Lakeview

Title to disguise an illegal kickback scheme whereby The Northrop Team received unearned

fees from Lakeview Title in exchange for referring the class of Plaintiffs to Lakeview Title

for settlement. Specifically, the Plaintiffs assert that half of the “Title Insurance” Fee on


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every Plaintiffs’ HUD, in the Baehrs’ case the Title Insurance fee of $2,990.00, was

channeled back to The Northrop Team in exchange for the referral to Lakeview. In their

Joint Motion for Summary Judgment, the Defendants argue that they are entitled to

judgment as a matter of law on Plaintiffs’ claim because the Plaintiffs do not have standing

under Article III of the Constitution, and discovery has shown that their claim is not entitled

to equitable tolling.

       I.      The Plaintiffs do not have Article III Standing

       Federal jurisdiction under Article III of the United States Constitution is limited to

“Cases” and “Controversies.” U.S. CONST. ART. III, § 2. “One element of the case-or-

controversy requirement is that plaintiffs must establish that they have standing to sue.”

Clapper v. Amnesty Int’l USA, __ U.S. __, 133 S. Ct. 1138 (2013). The “irreducible minimum

requirements” of standing that a plaintiff bears the burden of establishing are (1) an injury in

fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is

likely to be redressed by a favorable judicial decision. Spokeo, Inc. v. Robinson, 136 S. Ct. 1540,

1547 (2016) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130 (1992));

David v. Alphin, 704 F.3d 327, 333 (4th Cir. 2013).

       It has been long settled “that Congress cannot erase Article III’s standing

requirements by statutorily granting the right to sue to a plaintiff who would not otherwise

have standing.” Raines v. Byrd, 521 U.S. 818, 820, 117 S. Ct. 2312 (1997). The United States

Supreme Court most recently reaffirmed this principle in Spokeo, Inc. v. Robinson, __ U.S. __,

136 S. Ct. 1540 (2016) when explaining that “Congress’ role in identifying and elevating

intangible harms does not mean that a plaintiff automatically satisfies the injury-in-fact


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requirement whenever a statute grants a person a statutory right and purports to authorize

that person to sue to vindicate that right.” 136 S. Ct. at 1549. Rather, a plaintiff must still

establish “‘an invasion of a legally protected interest’ that is ‘concrete and particularized’ and

‘actual or imminent, not conjectural or hypothetical.’” Id. at 1548 (citing Lujan, 504 U.S. at

560). In other words, “a bare procedural violation, divorced from any concrete harm” does

not satisfy the injury-in-fact requirement. Id. at 1549.

       The Plaintiffs do not dispute that the $2,990.00 they paid for Title Insurance to

Chicago Title Insurance Company—which they assert was in some part channeled back to

the Northrop Defendants—was a reasonable fee to pay for title insurance, and therefore

they were not overcharged for services. Rather, the Plaintiffs argue that they have standing

to bring their RESPA claim because they were “deprived of impartial and fair competition

between settlement services.” (Am. Compl., ECF No. 89 at ¶ 23; P. Baehr Dep., ECF No.

158-4 at 248.) In response, the Defendants argue that Section 8(a) of RESPA does not

protect “impartial and fair competition” in this context and Plaintiffs did not suffer a

concrete harm under Article III.

       In arguing that being deprived of “impartial and fair competition” is sufficient to

establish Article III standing in this case, the Plaintiffs rely on this Court’s rulings in Robinson

v. Fountainhead Title Group Corp., 447 F. Supp. 2d 478 (D. Md. 2006) and Fangman v. Genuine

Title, LLC, No. RDB-14-0081, 2015 WL 8315704 (D. Md. Dec. 9, 2015). First of all, both of

these cases pre-date the Supreme Court’s ruling in Spokeo. Secondly, both are distinguishable

from the facts of this case because they involved allegations of overcharging and the creation




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of sham companies or a controlled or affiliated business agreement to assist in the kickback

scheme.

       In Robinson, the plaintiff alleged that the defendants Fountainhead Title Group

Corporation, Long & Foster, and Mid-States Title Insurance Agency, Inc. established a sham

limited liability company, Assurance Title, LLC, to appear on closing documents for

allegedly completing title services. 447 F. Supp. 2d at 485. The plaintiff alleged that in reality,

Fountainhead completed the title services and the fee the borrowers paid Assurance were

channeled to Long & Foster and Mid-States pursuant to an agreement to refer closing and

settlement services to Fountainhead. Id. at 485-86. The defendants moved to dismiss,

arguing that the plaintiff was required to allege an “overcharge” in order to have standing

under Section 8(a) of RESPA. Id. at 486. This Court denied the motion, holding that the

plaintiff had standing first because the plaintiff had in fact alleged an overcharge. Id. at 488.

Second, this Court relied on RESPA’s legislative history with respect to concerns regarding

controlled business arrangements to conclude that “in addition to the overcharges alleged,

the alleged § 8(a) violation presents the possibility for other harm, including a lack of

impartiality in the referral and a reduction of competition between settlement service

provides.” Id. at 488-89.

       Similarly in Fangman v. Genuine Title, LLC, No. RDB-14-0081, 2015 WL 8315704 (D.

Md. Dec. 9, 2015), the plaintiffs alleged that the defendant Genuine Title, LLC, by itself and

through sham companies, provided cash payments and marketing materials to mortgage

brokers who then referred their client to Genuine Title for settlement services. 2015 WL

8315704, at *1. The plaintiffs claimed that the cash payments were concealed from them and


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not disclosed on their HUD-1s, and Genuine Title failed to disclose their affiliated business

relationships. Id. at *3. When the defendants moved to dismiss for lack of standing, this

Court held that the plaintiffs satisfied the actual injury requirement when they alleged that

“as a result of Defendants’ kickback scheme, they ‘were deprived of kickback free settlement

services and process’ and that ‘[b]ut for’ the kickback scheme, their settlement fees ‘would

have been much lower.’” Id. at *5.

       Unlike in Robinson and Fangman, it is undisputed from the fully developed record and

oral argument at the hearing of November 20, 2018 that the $2,990.00 figure the Plaintiffs

allege was in some part channeled back to the Northrop Defendants was a reasonable fee to

pay for title insurance. Accordingly, there is no genuine dispute of material fact that the

Plaintiffs were not in any way overcharged for services due to the alleged kickback scheme.

Therefore, while RESPA was enacted, in part, to result “in the elimination of kickbacks or

referral fees that tend to increase unnecessarily the costs of certain settlement services,”

Plaintiffs have not shown that the costs of settlement services were unnecessarily increased.

12 U.S.C. § 2601(b).

       Moreover, it is undisputed that the Defendants did not create a sham company to

orchestrate the alleged scheme and there was not a controlled or affiliated business

agreement between The Northrop Team and Lakeview Title. The Plaintiffs repeatedly

emphasize that Lakeview Title was not one of the twelve closing and title insurance

companies listed on Long & Foster’s ABA Disclosure Statement. However, that was a form

prepared by Long & Foster, not The Northrop Team, in which the Defendants assert Long

& Foster voluntarily disclosed “business relationships” it had with twelve closing or title


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insurance companies. (ECF No. 210-31; Defs.’ Rep., ECF No. 212 at 21.) Second, under

RESPA, neither Long & Foster nor The Northrop Team had an affiliated business

arrangement with Lakeview Title that required disclosure. RESPA defines an affiliated

business arrangement as:

        An arrangement in which (A) a person who is in a position to refer business
        incident to or a part of a real estate settlement service involving a federally
        related mortgage loan, or an associate of such person, has either an affiliate
        relationship with or a direct or beneficial ownership interest of more than 1
        percent in a provider of settlement services; and (B) either of such persons
        directly or indirectly refers such business to that provider or affirmatively
        influences the selection of that provider.

12 U.S.C. § 2602(7). RESPA’s controlling regulations then define “affiliate relationship” as

        The relationship among business entities where one entity has effective
        control over the other by virtue of a partnership or other agreement or is
        under common control with the other by a third entity or where an entity is a
        corporation related to another corporation as parent to subsidiary by an
        identity of stock ownership.

12 C.F.R. § 1024.15(c). The Plaintiffs do not direct this Court to any evidence that The

Northrop Team, or Long & Foster, had an affiliated business arrangement under RESPA

with Lakeview Title that required disclosure.15 Accordingly, to the extent this Court in

Robinson and Fangman relied on RESPA’s concerns regarding controlled or affiliated business

arrangements, and therefore credited a deprivation of impartiality and fair competition as a

potential injury, those interests are not at issue here.

        Looking at the undisputed facts, Plaintiffs knew at the time they put an offer in for

the Glenwood home that they could choose their own settlement and title company. Rather

15Rather, the Plaintiffs direct this Court to an email sent to “executives@northropteam.com” which included
an internal memo that referred to Lakeview Title as an “affiliate.” (ECF No. 210-32.) This internal reference
to Lakeview Title as an “affiliate,” however, is insufficient to establish a genuine issue of material fact that
The Northrop Team had “either an affiliate relationship with” as defined by 12 C.F.R. § 1025.14(c) above, or
“a direct or beneficial ownership interest of more than 1 percent in” Lakeview Title. 12 U.S.C. § 2602(7).
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than shop for their own company, however, they elected to continue with Lakeview Title

even after Maija Dykstra told them that “we do all of our settlements at Lakeview.”

Therefore, despite the currently alleged interest in “fair and impartial competition between

settlement services,” the Plaintiffs took no action at the time to find their own settlement

company or inquire further into the settlement company recommended to them. Moreover,

the Plaintiffs do not claim that they were at all dissatisfied with the services Lakeview Title

provided. Finally, the Plaintiffs also do not claim that the fees paid to Lakeview Title,

including portions that are alleged to have been channeled to The Northrop Team, were

unreasonable or undeserved. Plaintiffs chose to follow the referral to Lakeview Title, were

satisfied with the services they received, and paid a reasonable fee. In light of all of these

undisputed facts, the Plaintiffs cannot now allege that they satisfy Article III’s injury in fact

requirement because they were deprived of “impartial and fair competition between

settlement services.”

       Finally, although not asserted in the Amended Complaint, the Plaintiffs also argue in

their Response to the Motion for Summary Judgment that they were injured because “they

paid for a service—the impartial advice and advocacy of their fiduciaries—that they did not

receive.” (Pls.’ Resp., ECF No. 210 at 33.) This theory, however, also contradicts the

undisputed facts for several reasons. First, Patrick Baehr testified that he and his wife did not

discuss with anyone on The Northrop Team the topic of finding a settlement and title

company. This was consistent with the Exclusive Right to Represent Buyer Agreement with

Long & Foster providing that the Baehrs retained Long & Foster “in the acquisition of real

property,” including “any purchase, option, exchange or lease of property or an agreement


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to do so,” and not for any “other professional service.” (ECF No. 158-8.) Accordingly,

finding a settlement company was not a service the Plaintiffs actively solicited or bargained

for from Long & Foster or The Northrop Team. Second, before choosing to continue with

Lakeview Title, Maija Dykstra indicated that a relationship of some nature existed between

The Northrop Team and Lakeview Title when she stated “we do all of our settlements at

Lakeview.” Still, the Plaintiffs did not inquire into why The Northrop Team always referred

settlements to Lakeview Title or in any way inquired into the referral. Finally, by electing to

proceed with Lakeview Title, the Plaintiffs received settlement services they were satisfied

with and thought deserved to be compensated. Therefore, the Plaintiffs cannot now assert

that they relied on, or were injured by a deprivation of, “impartial advice and advocacy” with

respect to the Lakeview Title referral.16

        For all of these reasons, there is no genuine dispute of material fact that the Plaintiffs

assert only “a bare procedural violation, divorced from any concrete harm” and do not

satisfy the injury-in-fact requirement of Article III Standing. Accordingly, Plaintiffs do not




16The Plaintiffs also argue that they “did not receive a title fee discount that they were entitled to” and under
a theory of unjust enrichment, the Plaintiffs are entitled to the amount that the Defendants were unjustly
enriched by with the referral to Lakeview. (Pls’ Resp., ECF No. 210 at 33-34.) Beginning with the former
theory, the Plaintiffs rely on Gussin v. Shockey, 725 F. Supp. 271, 275 (D. Md. 1989), aff’d, 933 F.2d 1001 (4th
Cir. 1991). In that case, however, this Court granted summary judgment for the plaintiffs on their claim that
the defendant violated implied fiduciaries duties as the plaintiffs’ agent when he “advised them to pay prices
for horses that included a secret benefit for himself and that was in excess of the price for which he could have
purchased the horses for the [plaintiffs].” 725 F. Supp. at 275 (emphasis added). Here, even if the Plaintiffs had
shown that The Northrop Team owed the Plaintiffs a fiduciary duty with respect to referral of settlement
services, there is no allegation of overcharging. As to the former theory under unjust enrichment, this theory
again relies on the underlying argument that the Plaintiffs paid The Northrop Team for “impartial advice and
advocacy” with respect to obtaining settlement services, which this Court rejects as explained above.
Moreover, unjust enrichment is an independent cause of action which is not permitted under RESPA. See, e.g.,
Minter v. Wells Fargo Bank, N.A., 593 F. Supp. 2d 788 (D. Md. 2009); Eslick v. Cenlar, Central Loan
Administration and Reporting, No. 2:17-cv-381, 2017 WL 4836541 (E.D. Va. Oct. 3, 2017).
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have standing to bring their claim, and for this reason alone the Defendants’ Joint Motion

for Summary Judgment is GRANTED.

       II.     Alternatively, Plaintiffs’ claim is barred by RESPA’s statute of
               limitations

       Claims brought pursuant to Section 8 of REPSA, 12 U.S.C. § 2607, are subject to a

one year statute of limitations. Specifically, claims brought under Section 8 must be asserted

within one year “from the date of the occurrence of the violation.” 12 U.S.C. § 2614. In this

case, the date of the occurrence of the violation refers to the date the Plaintiffs closed on

their home, July 25, 2008. Fangman v. Genuine Title, LLC, No. CV RDB-14-0081, 2016 WL

6600509, at *4 (D. Md. Nov. 8, 2016) (quoting Grant v. Shapiro & Burson, LLP, 871 F. Supp.

2d 462, 470 (D. Md. 2012)). Because the Named Plaintiffs did not file suit until March 27,

2013, their claim falls outside of the one year statute of limitations.

       As this Court has consistently held, however, claims brought under RESPA may be

equitably tolled. Fangman v. Genuine Title, LLC, No. CV RDB-14-0008, 2015 WL 8315704, at

*7 (D. Md. Dec. 9, 2015) (citing United States v. Kwai Fun Wong, ––– U.S. ––––, 135 S. Ct.

1625, 1630, 191 L.Ed.2d 533 (2015); Grant v. Shapiro & Burson, LLP, et al., 871 F. Supp. 2d

462, 470 n.10 (D. Md. 2012)); Bezek v. First Mariner Bank, 293 F. Supp. 3d 528, 534 (D. Md.

2018). In Menominee Indian Tribe of Wisconsin v. United States, ––– U.S. ––––, 136 S. Ct. 750

(2016), a unanimous United States Supreme Court held that equitable tolling requires the

plaintiff to establish two elements: “(1) that he has been pursuing his rights diligently, and (2)

that some extraordinary circumstance stood in his way and prevented timely filing.” 136 S.

Ct. at 755 (quoting Holland v. Florida, 560 U.S. 631, 649, 130 S. Ct. 2549 (2010)); see also

Cunningham v. Commissioner of Internal Revenue, No. 17-1433, 716 F. App’x 182 (4th Cir. Jan. 18,

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2018). The Supreme Court emphasized these two requirements as distinct elements, “not

merely factors of indeterminate or commensurable weight.” 136 S. Ct. at 756 (citing Pace v.

DiGuglielmo, 544 U.S. 408, 418, 125 S. Ct. 1807 (2005)). Accordingly, an insufficient showing

of either diligence or extraordinary circumstances is fatal to a claim for equitable tolling. See

Lawrence v. Florida, 549 U.S. 327, 127 S. Ct. 1079 (2007) (holding that equitable tolling did not

apply solely because the petitioner “fell far short of showing extraordinary circumstances”).

         The extraordinary circumstance element “is met only where the circumstances that

caused a litigant’s delay are both extraordinary and beyond its control.” Menominee, 136 S. Ct.

at 756 (emphasis in original). In other words, the circumstances must combine to render

“critical information . . . undiscoverable.” Gould v. U.S. H.H.S, 905 F.2d 738, 745–46 (4th

Cir. 1990) (en banc). While courts have consistently held that fraudulent concealment by the

defendant is a circumstance that may justify equitable tolling, see e.g., Supermarket of Marlinton,

Inc. v. Meadow Gold Dairies, Inc., 71 F.3d 119, 122 (4th Cir. 1995); Grant v. Shapiro & Burson,

LLP, 871 F.Supp.2d 462, 470 n.10 (D. Md. 2012), a RESPA violation in and of itself, is not a

“self-concealing” wrong. Minter v. Wells Fargo Bank, N.A., 924 F. Supp. 2d 627, 642 (D. Md.

2013).

         As to due diligence, the Supreme Court has held that “the diligence prong . . . covers

those affairs within the litigant’s control.” Menominee Indian Tribe of Wisconsin v. United States, –

–– U.S. ––––, 136 S. Ct. 750, 756 (2016). This element requires “reasonable diligence,” not

“maximum feasible diligence.” Holland v. Florida, 560 U.S. 631, 653, 130 S. Ct. 2549 (2010).

In Go Computer, Inc. v. Microsoft Corp., 508 F.3d 170 (4th Cir. 2007), the United States Court of

Appeals for the Fourth Circuit explained that in the context of fraud:


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        To be sure, a diligent plaintiff need not engage in ceaseless inquiry when
        reasonable inquiry does not expose grounds for suit. But nothing
        in Supermarket of Marlinton[, 71 F.3d 119 (4th Cir. 1995)] excuses a negligent
        plaintiff from the diligence requirement—not even if a fraud is allegedly well-
        disguised. Fraud by its nature is something perpetrators take pains to disguise,
        and plaintiffs’ notion that allegedly concealed fraud excuses the need for any
        diligence on plaintiffs’ part would permit statutory periods to be tolled
        indefinitely, even when plaintiffs could reasonably be expected to bring suit.

508 F.3d at 179.17

        The Fourth Circuit has emphasized that “equitable tolling is appropriate ‘in those rare

instances where—due to circumstances external to the party’s own conduct—it would be

unconscionable to enforce the limitation period against the party and gross injustice would

result.’” Cunningham, 716 F. App’x 182 at 184 (internal quotation marks omitted)

(quoting Whiteside v. United States, 775 F.3d 180, 184 (4th Cir. 2014) (en banc)). Accordingly,

federal courts employ equitable tolling “sparingly,” Irwin v. Dep’t of Veterans Affairs, 498 U.S.

89, 96, 111 S. Ct. 453, 112 L.Ed.2d 435 (1990), as “a rare remedy to be applied in unusual

circumstances.” Wallace v. Kato, 549 U.S. 384, 396, 127 S. Ct. 1091 (2007).

        The Plaintiffs assert that the Defendants violated Section 8(a) of RESPA by

orchestrating a scheme whereby The Northrop Defendants received approximately half of

the Title Insurance fee listed on each of the Plaintiffs’ HUD-1 in unearned fees for referring

the Plaintiffs to Lakeview Title for settlement. The Plaintiffs argue that their claim is entitled

to equitable tolling because the Defendants fraudulently concealed this kickback scheme

through the Marketing and Services Agreement which The Northrop Team did not disclose



17 Although Go Computer was decided in the context of the statute of limitations for federal antitrust claims,
like RESPA, that statute of limitations bars any action “unless commenced within four years after the cause
of action accrued,” which is not when a plaintiff discovers an injury, but “when a defendant commits an act that
injures a plaintiff’s business.” 508 F.3d at 173 (citations omitted) (emphasis added).
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to the Plaintiffs. Moreover, the Plaintiffs assert that even if the Defendants had disclosed the

Agreement, the Plaintiffs would have only discovered a seemingly valid arrangement

between The Northrop Team and Lakeview Title. Under these circumstances, the Plaintiffs

argue they exercised reasonable diligence and therefore their claim is entitled to equitable

tolling. As explained below, while, like this Court noted in Bezek v. First Mariner Bank, 293 F.

Supp. 3d 528, 540 (D. Md. 2018), the class of Plaintiffs “may have some interest in

accountability and financial compensation, Congress firmly expressed an interest in

providing certainty to the real estate market when it set the RESPA statute of limitations at

one year,” and the Plaintiffs have not established that their claim is entitled to equitable

tolling.

           On the issue of whether the Defendants concealed the Marketing Agreement,

Defendants present this Court with ample testimony that both The Northrop Team and

Lakeview Employees were aware of the Marketing Agreement. Defendant Lindell Eagan,

Corporate Designee for Lakeview Title Company, testified that Lakeview Title freely

admitted to having a Marketing Agreement with The Northrop Team, although it was not

practice to disclose the terms of the agreement. (ECF No. 158-18 at 157.) Kevin Yungman, a

closing attorney for Lakeview from 2005 through September of 2014, testified that “it was

common knowledge that Lakeview had some type of relationship with The Northrop Team”

and he had “dozens” of communications with persons outside of the Northrop Team or

Lakeview regarding the Marketing Agreements. (ECF No. 158-19 at 179, 181.) The

Defendants also cite to several other Lakeview and Northrop employees who knew about

the marketing relationship between The Northrop Team and Lakeview Title. (Barbara Cohn


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Dep., ECF No. 158-21 at 36; Tracy Cotty Dep., ECF No. 158-23 at 44-45.) Moreover, the

Defendants challenge the Plaintiffs’ argument that the Defendants actively concealed the

kickback scheme through the Marketing Agreement when the Plaintiffs never inquired into,

or were aware of, the Marketing Agreement itself. (Defs.’ Rep., ECF No. 212 at 15.)

       Even assuming, however, that the Defendants did fraudulently conceal the kickback

scheme, there is no genuine issue of material fact that the Plaintiffs failed to exercise

reasonable diligence to discover their claim. The month the Beahrs closed on their home,

they knew that they could choose their own settlement and title company. Despite knowing

this, and the fact that they now claim that “impartial and fair competition between

settlement services” was an important interest to them, the Plaintiffs did not take any action

to find their own settlement and title company. Rather, before the Plaintiffs closed on their

home, Dykstra informed them that Lakeview Title would handle their settlement. Moreover,

she stated “we do all of our settlements at Lakeview.” (ECF No. 158-4 at 139.)

       Notwithstanding the apparent existence of a business relationship between The

Northrop Team and Lakeview Title, the Plaintiffs did not at all inquire about a potential

relationship between Lakeview and The Northrop Team. Rather, they elected to use

Lakeview without objection or further inquiry. Accordingly, in light of a potential

relationship between Lakeview and The Northrop Team—which the Plaintiffs repeatedly

emphasize was not disclosed to the Plaintiffs on Long & Foster’s ABA Disclosure

Statement—the Plaintiffs took no steps to investigate the propriety of such a relationship.

Even after closing on their homes, the named Plaintiffs and other members of the class went

more than four and a half years satisfied with the services they received from Long & Foster,


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The Northrop Team, and Lakeview Title, and content with the fees they paid each party.

Had they inquired into that relationship, Lindell Eagan, along with multiple Lakeview and

The Northrop Team employees, testified that Lakeview and the other parties freely admitted

to having the Marketing Agreement. (Eagan Dep., ECF No. 158-18 at 157; Yungman Dep.,

ECF No. 158-19 at 179-81.)

       The Plaintiffs then argue, however, that the relevant inquiry is not whether the

Plaintiffs were aware of a relationship between Lakeview Title and The Northrop Team or

the Marketing Agreement, but whether they were aware of the kickbacks. On this note, the

Plaintiffs assert that “[t]he Marketing Agreement was designed to look legitimate, so it would

not have caused a reasonable person to inquire further, even if the Plaintiffs had known

about it.” (ECF No. 210 at 16.) This assertion contradicts, however, the Plaintiffs’ argument

that the Marketing Agreement was clearly a sham for the kickbacks.

       The Plaintiffs argue that “the Marketing Agreement itself reveals that it was created

solely to conceal the kickbacks.” (Pls.’ Resp., ECF No. 210 at 20.) They emphasize the fact

that the Marketing Agreement begins with the requirement that The Northrop Team refer

its clients exclusively to Lakeview, “but then later disclaims any relationship between these

referrals and the monthly payments.” (Id. (citing ECF No. 210-10 at ¶¶ 2.1, 6.1).) Moreover,

the Plaintiffs assert that the Marketing Agreement only provided for “unspecified ‘marketing

services.’” (Id. at ¶ 7 (citing ECF No. 210 at ¶ 2.1).) Specifically, the Plaintiffs emphasize that

the Marketing Agreement “made no requirements concerning the placement, circulation,

volume, size, or medium of the supported advertising.” (Id. at ¶ 8.) Rather, the only

requirement the Marketing Agreement did include was that The Northrop Team website


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provide a link to Lakeview, which the Plaintiffs assert was not done until well after this

action was filed. (Id.) Accordingly, on the one hand, the Plaintiffs argue that had the

Plaintiffs discovered the Marketing Agreement, they would not have had reason to inquire

further, but on the other hand, argue that the Marketing Agreement was clearly a sham on its

face for the above reasons.

        The Plaintiffs also argue that the Plaintiffs were entitled to relax their guard because

The Northrop Defendants were their fiduciaries, and therefore “the Plaintiffs were

permitted to rely on their fiduciaries and not undertake additional inquiry until something

excited them to inquire.” (Pls.’ Resp., ECF No. 210 at 26-28.) This Court cannot ignore,

however, that when Patrick Baehr was asked during his deposition whether he believed that

the Defendants did anything to affirmatively prevent him from discovering his RESPA claim

or otherwise concealed his RESPA claim, he responded “no.” (ECF No. 158-4 at 214.) In

response to “what efforts did you make to discover your claim after you closed on your

home in 2008?” he testified “none.” (Id. at 206.) Accordingly, even if there were merit to the

Plaintiffs’ claim that, in this context, the Plaintiffs could “relax [their] guard and rely upon

the representations by the other in whom they have placed their confidence” with respect to

the Lakeview Title referral, (Pls.’ Resp., ECF No. 210 at 27 (citing Brown v. Neuberger, Quinn,

Gielen, Rubin & Gibber, P.A., 731 F. Supp. 2d 443 (D. Md. 2010), aff’d, 495 F. App’x 350 (4th

Cir. 2012)),18 the Plaintiffs—through the undisputed record and Patrick Baehrs’ own

testimony—exercised no diligence whatsoever despite the apparent existence of a business

18Both Brown and the other case the Plaintiffs cite to, Frederick Road Ltd. Partnership v. Brown & Sturm, 360 Md.
76, 99 (Md. 2000), involved Maryland state law’s “continuation of events theory,” which specifically permits a
statute of limitations to be tolled during the existence of a fiduciary or confidential relationship. Brown, 731 F.
Supp. 2d at 451 (citing MacBridge v. Pishvaian, 402 Md. 572, 937 A.2d 233 (Md. 2007)); Frederick Road Ltd.
Partnership, 360 Md. at 96-97 (citing W., B. & A. Elec. R.R. Co. v. Moss, 130 Md. 198, 100 A. 86 (Md. 1917)).
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relationship between The Northrop Team and Lakeview Title.

       When enacting RESPA, Congress specifically provided that the statute of limitations

period would begin to run on “the date of the occurrence of the violation.” 12 U.S.C. §

2614. Courts cannot “toll indefinitely the limitations period for claims under RESPA until a

lawyer can find the right plaintiff to join a lawsuit and notify other putative plaintiffs”

because doing so “would effectively write the statute of limitations out of RESPA.”

Cunningham v. M&T Bank Corp., 814 F.3d 156, 164 (3d Cir. 2016). Plaintiffs have not

demonstrated that their case presents the “rare instance” where enforcing RESPA’s statute

of limitations would be unconscionable. Therefore, even if the Plaintiffs had standing to

bring their claim, the claim would be barred by the statute of limitations and equitable tolling

does not apply.

                                      CONCLUSION

       For the reasons stated above, Defendants’ Joint Motion for Summary Judgment

(ECF No. 158) is GRANTED and Judgment is ENTERED in favor of Defendants.

A separate order follows.

Dated: December 7, 2018

                                                                  /s/

                                                           Richard D. Bennett
                                                           United States District Judge




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